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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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JUDY J. SCHMELZINGER, as Executrix                         ANSWER
of the Estate of ROBERT J. CLOSS,
                                                           22-cv-186-CCR
                      Plaintiff,
       v.                                                  Jury Trial Demanded

CITY OF BUFFALO, et al.

                Defendants.
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              Defendants, by their undersigned attorney, for their answer to

plaintiff’s complaint, upon information and belief allege:

       1.     Lack knowledge or information sufficient to admit or deny the

allegations in paragraphs 1, 2, 3, 4, 7, 9, 10, 11, 13, 14, 16, 17, 18, 19, 21, 22, 27, 30,

31, 33, 36, 37, 38 and 39.

       2.     Answering paragraphs 5, 6 and 15, admit that the City of Buffalo is a

municipal corporation organized and existing under the laws of the State of New

York, admit that the Buffalo Police Department is an administrative arm of the City

of Buffalo, and lack knowledge or information sufficient to admit or deny the rest of

the allegations.

       3.     Deny the allegations in paragraphs 8, 12, 20, 23, 25, 26, 29, 32, 34, 41,

42, 43 and 45.

       4.     Repeat and reallege the answers to the allegations in paragraphs 24,

28, 35 and 40.

       5.     Admit the allegations in paragraphs 44.




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       6.      Deny each and every allegation or part thereof not specifically

answered herein.

                                   FIRST DEFENSE

       7.      The decedent’s damages, if any, must be reduced in proportion to his

own culpable conduct, pursuant to CPLR 1411.

                                 SECOND DEFENSE

       8.      Any damages that could have been avoided or mitigated are not

recoverable.

                                   THIRD DEFENSE

       9.      Any damages must be reduced by the amount that has been received,

or will with reasonable certainty be received from collateral sources, pursuant to

CPLR 4545, if applicable.

                                 FOURTH DEFENSE

       10.     Defendants will claim an offset pursuant to General Obligations Law

§15-108, if applicable.

                                   FIFTH DEFENSE

       11.     Defendants will claim the benefit of the limited liability provisions

under Article 16 of the CPLR, if applicable.

                                   SIXTH DEFENSE

       12.     Plaintiff may have failed to join all necessary parties.

                                 SEVENTH DEFENSE

       13.     In the event that plaintiff does recover against defendants, defendants

will request that an apportionment of fault be made as to all parties and non-parties


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legally responsible for the damages alleged in the complaint, and will further request

a judgment or declaration of indemnification or contribution against all those parties

or non-parties in accordance with the apportionment of fault.

                                 EIGHTH DEFENSE

       14.    Defendants are protected from liability by the doctrine of qualified

immunity.

                                 NINTH DEFENSE

       15.    Defendants are protected from liability by the doctrine of governmental

function immunity.

                                 TENTH DEFENSE

       16.    The complaint may be barred, in whole or in part, by the existence of

probable cause or arguable probable cause.

                               ELEVENTH DEFENSE

       17.    The complaint may be barred, in whole or in part, by the doctrines of

res judicata and collateral estoppel.

                               TWELFTH DEFENSE

       18.    The complaint, in whole or in part, fails to state a claim upon which

relief can be granted.

                             THIRTEENTH DEFENSE

       19.    Any use of force against decedent was justified under the

circumstances.




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                              FOURTEENTH DEFENSE

         20.   Personal jurisdiction may be lacking over the individually named

defendant-members of the Buffalo Police Department.

                               FIFTEENTH DEFENSE

         21.   The complaint may be barred, in whole or in part, by the applicable

statute(s) of limitation.

                               SIXTEENTH DEFENSE

         22.   Plaintiff may lack standing to maintain this action.

                             SEVENTEENTH DEFENSE

         23.   Recovery is precluded for damages that are the direct result of

decedent’s active participation in a serious criminal act.

                              EIGHTEENTH DEFENSE

         24.   Defendants did not cause decedent’s injuries.

                              NINETEENTH DEFENSE

         25.   Defendants owed decedent no special duty of care.

                               TWENTIETH DEFENSE

         26.   The complaint is barred, in whole or in part, by plaintiff’s failure to

serve a notice of claim.

               WHEREFORE, defendants request judgment dismissing the

complaint, together with the costs of this action including reasonable attorney’s fees,

and any additional relief the court deems appropriate.

Dated:         Buffalo, New York
               March 30, 2022



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                                           Yours, etc.,

                                           Cavette A. Chambers
                                           Corporation Counsel
                                           Attorney for Defendants

                                           By: s/David M. Lee
                                           Assistant Corporation Counsel
                                           City of Buffalo Dept. of Law
                                           65 Niagara Sq., 1104 City Hall
                                           Buffalo, New York 14202
                                           (716) 851-9691
                                           dlee@city-buffalo.com

To:   Joshua I. Ramos, Esq.
      Ramos & Ramos
      Attorneys for Plaintiff
      37 franklin Street, Suite 1100
      Buffalo, New York 14202
      (716) 810-6140




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